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                     THE UNITED STATES DISTRICT COURT FOR
                     THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

  AHMAD POOLE (K95348),                   )
                                          )
               Plaintiff,                 )
                                              Case No. 20-CV-0014
                                          )
                                          )
         v.                               )   Honorable Manish S. Shah
                                          )
  DR. E. AGUINALDO, et al.,               )
                                          )
               Defendants.
                                          )




                            Exhibit 16
Case:
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      1:20-cv-00014Document
                   Document#:
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                               134-5 Filed:
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      1:20-cv-00014Document
                   Document#:
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                               134-5 Filed:
                                     Filed:09/05/23
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                                                               PageID#:2108
                                                                      #:3029
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                               134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
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                                                             69PageID
                                                               PageID#:2109
                                                                      #:3030
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                               134-5 Filed:
                                     Filed:09/05/23
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                                                               PageID#:2110
                                                                      #:3031
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                               134-5 Filed:
                                     Filed:09/05/23
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                                                          of68
                                                             69PageID
                                                               PageID#:2111
                                                                      #:3032
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                               134-5 Filed:
                                     Filed:09/05/23
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                                                             69PageID
                                                               PageID#:2112
                                                                      #:3033
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                               134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page78of
                                                          of68
                                                             69PageID
                                                               PageID#:2113
                                                                      #:3034
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                               134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page89of
                                                          of68
                                                             69PageID
                                                               PageID#:2114
                                                                      #:3035
Case:
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       1:20-cv-00014Document
                     Document#:#:147-17
                                  134-5 Filed: 09/05/23
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                                                             10ofof68
                                                                    69PageID
                                                                       PageID#:2115
                                                                              #:3036
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2116
                                                                        #:3037
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
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                                                            of68
                                                               69PageID
                                                                 PageID#:2117
                                                                        #:3038
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
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                                                         13of
                                                            of68
                                                               69PageID
                                                                 PageID#:2118
                                                                        #:3039
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page13
                                                         14of
                                                            of68
                                                               69PageID
                                                                 PageID#:2119
                                                                        #:3040
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                            of68
                                                               69PageID
                                                                 PageID#:2120
                                                                        #:3041
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                            of68
                                                               69PageID
                                                                 PageID#:2121
                                                                        #:3042
Case:
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                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2122
                                                                        #:3043
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
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                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2123
                                                                        #:3044
Case:
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                            #:147-17
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                                                               69PageID
                                                                 PageID#:2124
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Case:
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                            #:147-17
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                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2125
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Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
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                                                               69PageID
                                                                 PageID#:2126
                                                                        #:3047
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                            of68
                                                               69PageID
                                                                 PageID#:2127
                                                                        #:3048
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page22
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                                                            of68
                                                               69PageID
                                                                 PageID#:2128
                                                                        #:3049
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page23
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                                                            of68
                                                               69PageID
                                                                 PageID#:2129
                                                                        #:3050
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2130
                                                                        #:3051
Case:
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      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                         26of
                                                            of68
                                                               69PageID
                                                                 PageID#:2131
                                                                        #:3052
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page26
                                                         27of
                                                            of68
                                                               69PageID
                                                                 PageID#:2132
                                                                        #:3053
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page27
                                                         28of
                                                            of68
                                                               69PageID
                                                                 PageID#:2133
                                                                        #:3054
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page28
                                                         29of
                                                            of68
                                                               69PageID
                                                                 PageID#:2134
                                                                        #:3055
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page29
                                                         30of
                                                            of68
                                                               69PageID
                                                                 PageID#:2135
                                                                        #:3056
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
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                                                            of68
                                                               69PageID
                                                                 PageID#:2136
                                                                        #:3057
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page31
                                                         32of
                                                            of68
                                                               69PageID
                                                                 PageID#:2137
                                                                        #:3058
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page32
                                                         33of
                                                            of68
                                                               69PageID
                                                                 PageID#:2138
                                                                        #:3059
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page33
                                                         34of
                                                            of68
                                                               69PageID
                                                                 PageID#:2139
                                                                        #:3060
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page34
                                                         35of
                                                            of68
                                                               69PageID
                                                                 PageID#:2140
                                                                        #:3061
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page35
                                                         36of
                                                            of68
                                                               69PageID
                                                                 PageID#:2141
                                                                        #:3062
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
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                                                               69PageID
                                                                 PageID#:2142
                                                                        #:3063
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
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                                                               69PageID
                                                                 PageID#:2143
                                                                        #:3064
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
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                                                            of68
                                                               69PageID
                                                                 PageID#:2144
                                                                        #:3065
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2145
                                                                        #:3066
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
                                                    Page40
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                                                            of68
                                                               69PageID
                                                                 PageID#:2146
                                                                        #:3067
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
                                            10/30/23Page
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                                                            of68
                                                               69PageID
                                                                 PageID#:2147
                                                                        #:3068
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2148
                                                                        #:3069
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
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                              134-5 Filed:
                                     Filed:09/05/23
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                                                                 PageID#:2149
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                   Document#:
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                              134-5 Filed:
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                                                               69PageID
                                                                 PageID#:2150
                                                                        #:3071
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2151
                                                                        #:3072
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2152
                                                                        #:3073
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2153
                                                                        #:3074
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2154
                                                                        #:3075
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2155
                                                                        #:3076
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
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                                                               69PageID
                                                                 PageID#:2156
                                                                        #:3077
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                                 PageID#:2157
                                                                        #:3078
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
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                                                               69PageID
                                                                 PageID#:2158
                                                                        #:3079
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
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                                                                 PageID#:2159
                                                                        #:3080
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                               69PageID
                                                                 PageID#:2160
                                                                        #:3081
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
                                     Filed:09/05/23
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                                                    Page55
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                                                               69PageID
                                                                 PageID#:2161
                                                                        #:3082
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
                            #:147-17
                              134-5 Filed:
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                                                                 PageID#:2162
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      1:20-cv-00014Document
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Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
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                              134-5 Filed:
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                   Document#:
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                              134-5 Filed:
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Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
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                              134-5 Filed:
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                                                                 PageID#:2166
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Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
                   Document#:
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                              134-5 Filed:
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Case:
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      1:20-cv-00014Document
                   Document#:
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Case:
Case:1:20-cv-00014
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Case:
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                                                                        #:3091
Case:
Case:1:20-cv-00014
      1:20-cv-00014Document
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Case:
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                                                                 PageID#:2173
                                                                        #:3094
Case:
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      1:20-cv-00014Document
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